Case 2:14-cv-00437-SPC-NPM Document 161-2 Filed 03/12/20 Page 1 of 7 PageID 3551




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Case 2:14-cv-00437-SPC-NPM Document 161-2 Filed 03/12/20 Page 2 of 7 PageID 3552
Case 2:14-cv-00437-SPC-NPM Document 161-2 Filed 03/12/20 Page 3 of 7 PageID 3553
Case 2:14-cv-00437-SPC-NPM Document 161-2 Filed 03/12/20 Page 4 of 7 PageID 3554
Case 2:14-cv-00437-SPC-NPM Document 161-2 Filed 03/12/20 Page 5 of 7 PageID 3555
Case 2:14-cv-00437-SPC-NPM Document 161-2 Filed 03/12/20 Page 6 of 7 PageID 3556
Case 2:14-cv-00437-SPC-NPM Document 161-2 Filed 03/12/20 Page 7 of 7 PageID 3557
